Case 1:20-cv-03595 Document 1-1 Filed 12/10/20 Page 1 of 1 Exhibit 1

The Chronicle of Philanthropy is hiring a highly motivated, energetic Institutional Sales Associate. This
position wil! cultivate and build our rapidly expanding site license business. Joining the institutional sales
team, the sales associate will be responsible for managing existing site licenses and for building and
closing a robust pipeline of new business opportunities within institutions of higher education, non-
profit organizations, hospital and healthcare systems, foundations, and more.

What you’ll do:

e Establish strong relationships with The Chronicle of Philanthropy’s institutional clients and
prospects via in-person appointments, telephone calls, mail and e-mail correspondence,
conference participation and through marketing channels

e Meet and exceed all sales and renewal goals and objectives, as set monthly, quarterly and
annually

e Proactively develop new strategies and ideas to increase sales opportunities and revenue

e Analyze market and identify targeted sales opportunities to expand site license sales growth

e Actively create, manage, and refresh contact lists in order to keep a robust pipeline of new
revenue opportunities

Who you are:

Superior sales, objection handling and relationship management skills

Proven success meeting and exceeding aggressive sales goals

Ability to take ownership and work independently with an entrepreneurial mindset
Exceptional verbal and written communication skills

Attention to detail and the ability to follow through on the entire sales cycle

3-5 years’ experience in sales with demonstrated track record of meeting and exceeding
revenue expectations.

Experience with a CRM system such as Salesforce.com preferred

e Experience with non-profits, institutions of higher education, and associations a plus

e Bachelor's degree required

Interested candidates should send a cover letter, resume, and salary requirements to
audiencedev@chronicle.com with “Institutional Sales Associate” in the subject heading. No phone calls,
please.

The Chronicle is based in Washington, D.C. Our salaries are competitive and we offer excellent benefits,
such as comprehensive health, dental and vision insurance, tuition reimbursement and 24 days of paid
vacation.

A journalism-driven multimedia company, The Chronicle of Higher Education and The Chronicle of
Philanthropy provide award-winning news coverage to people on college campuses and to nonprofit
organizations around the world. Vitae is The Chronicle’s online career hub, which offers free career
management tools, a powerful community, and the candid insights that academics need to build
successful careers and fulfill their mission,

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